              EXHIBIT 7
June 14-16, 2021 Email Exchange Regarding
             Missing Animals
From:            Daniel Card
To:              Hollingsworth, Mary (ENRD)
Cc:              Strippoli, Briena (ENRD)
Subject:         Re: Lowe disposition form
Date:            Wednesday, June 16, 2021 1:38:53 PM


Mary, I forwarded every email you have sent. Whether the animals are on the property is a fact I'm highly unlikely to learn, let alone confirm. I would again suggest you ask the Lowes, as you are explicitly allowed to.

Thanks,

Dan

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From: Hollingsworth, Mary (ENRD) <Mary.Hollingsworth@usdoj.gov>
Sent: Monday, June 14, 2021 11:21:14 PM
To: Daniel Card <dan@cardlawok.com>
Cc: Strippoli, Briena (ENRD) <Briena.Strippoli@usdoj.gov>
Subject: RE: Lowe disposition form

Mr. Card,

Would you please confirm that you have communicated to your clients that they need to have the 5 animals listed in the document below returned to the Thackerville property immediately per our June 10, 2021 email? In the alternative, would you
please confirm that you have forwarded this email to them. The five animals below were listed on the December 16, 2020 inventory and were subject to the Court’s January 15, 2021 order, stating in relevant part:

“Pending resolution of the merits of the United States’ claims in the Complaint, Defendants, including anyone acting, directly or indirectly, through them or on their behalf… shall not acquire or dispose of any animal covered by the ESA or any animal
covered by the AWA, excluding common dogs, cats, hamsters, or rabbits, absent leave of court sought by duly-noticed motion. Prior to seeking leave of court to acquire or dispose of any animal covered by this agreement, Defendants shall meet and
confer with the United States pursuant to the Local Rules of the Eastern District of Oklahoma.”

We would like written confirmation no later than Wednesday, June 16, 2021, that the animals have been returned to the facility.

Regards,

Mary Hollingsworth
Senior Trial Attorney
Wildlife & Marine Resources Section
Environment & Natural Resources Division
United States Department of Justice
999 18th Street, South Terrace, Suite 354
Denver, CO 80202
(303) 844-1898




From: Daniel Card <dan@cardlawok.com>
Sent: Thursday, June 10, 2021 6:30 PM
To: Hollingsworth, Mary (ENRD) <Mary.Hollingsworth@usdoj.gov>
Subject: Lowe disposition form

For the 5 animals.

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From: Daniel Card <dan@cardlawok.com>
Sent: Thursday, June 10, 2021 3:58:37 PM
To: Daniel Card <dan@cardlawok.com>
Subject: Photo from Dan Card
